 1
     Desert Financial Credit Union
     148 N. 48th Street
                                                                                              FIL D
     Phoenix, Arizona 85034
 2
     Phone:602-335-5678
                                                                                               UNITED STAT
 3   Email: garnishments@desertfinancial.com                                                 BANKRUPTCY C URT
                                                                                         FOR THE DISTRICT 0 ARIZONA
 4                          IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
 5
                                                                                              24-AP-00154- DPC
     In re
 6                                                                                Chapter 7
     JOSEPH PATRICK MAEZ, a.k.a. Patrick
 7   Maez; and HEATHER L. MAEZ, a.k.a.                                     No.:24-02451-DPC
     Heather L. Larsen,
 8                                                                ANSWER OF GARNISHEE FOR
                    Debtors,
                                                                      HEATHER L. MAEZ
 9
     SAGE GROWTH CAPITAL FUND 1, LLC,                                        (Non-Earnings)
10   an Idaho limited liability company,

11                     Plaintiff/Judgement Creditor,

12                    V.
     JOSEPH PATRICK MAEZ, an individual; and
13   the martial community composed of JOSEPH
     PATRICK MAEZ and HEATHER L. MAEZ,
14

15
                       Defendants/Judgement Debtors.

16   Desert Financial Credit Union,
            Garnishee
17
     1.    I am authorized by the above named Garnishee to complete and file this Answer. The war
18   'money' as used in this Answer does not refer to wages. Garnishee's name, address and phone are:

19                             Desert Financial Credit Union
                              Attn: Garnishments
20                            148 N. 48th Street
                              Phoenix, Arizona 85034
21
                              Phone:602-335-5678
22                            Email: garnishments@desertfinancial.com

23   2.       The statements checked below were true at the time the Writ was served:

24         A.     D Garnishee was not indebted or otherwise in possession of monies belonging t
     Judgment Debtor.
25
           B.      � Garnishee was in possession of monies of the Judgment Debtor in the tota
     amount of $5,128.25.

          Answer of Garnishee [Bankruptcy - Member Positive Balance No SDB] - 1

     Case 2:24-ap-00154-DPC                                       Rev. 1/2025
                                         Doc 53 Filed 05/01/25 Entered    05/02/25 09:55:25           Desc
                                         Main Document    Page 1 of 3
                  L Gamishee exempted $5,000.00 from the account owned by the Judgment Debtors)
   || for the following reason:
                          a. S Pursuantto A.R.S. §33-1126(9), A.R.S. §12-1593(B) and/orth^
                  instructions from Judgment Creditor to Gamishee, as appropriate;
                         b. Pl The funds in the account were identified as federal benefit]
 3
                  payments to the Judgment Debtor under Title 31, Part 212 of the Code of Federal)
 4                Regulations and are protected from garnishment; and/or

                             c- n Remaining exempted amount of was being held

 6                   ii. Gamishee has placed a hold on the amount of 0.00 (as non-exempt funds held]
             by Gamishee pursuant to the Writ.) Gamishee's records indicate that the impounded^
 7           monies are held in the name(s) of ^ the Judgment Debtor or \_\ the Judgment Debtoi)
             and


             C. 1X1 Gamishee was not in possession of any personal property belonging to
      Judgment Debtor.
10
             D. D Gamishee was in possession of the following personal property belonging to the)
11   Judgment Debtor: Safe Deposit Box (include a description of each item or group of items).

12           E. |^3 Gamishee is not a corporation in which the Judgment Debtor owns shares ofl
     interest, however, Gamishee is a federally chartered credit union in which Judgment Debtor owns|
13   one share.


14   3. Gamishee is aware that the following person/entity holds personal property or money
     which belongs to Judgment Debtor:

     4. Gamishee requests an answer fee in the amount of $100.00 as a reasonable amount for
     the preparation and filing of this Answer.
17
     5. A. One (1) copy each of the Writ of Garnishment of Monies or Property and Summons)
18   (Non-Eamings), Notice to Judgment Debtors or Defendants (Non-Eamings), and Request foij
     Hearing form and a copy of the underlying Default Judgment were provided to each Judgment]
19   Debtor at the following addresses on :3308 E. Kesler Ln., Gilbert, AZ 85295

20   By: [X] Mail D Hand Delivery D Constable or Process Server

21           B. The original of this Answer mailed to: 230 N. 1st Ave, Ste. 101 Phoemx, AZ
                     85003
22
             C. One (1) copy of this Answer was provided to each Judgment Debtor at Judgment
     Debtors' Address set forth in 5.A. above, and to Creditor's Attorney at the following Address on

24
           :2394 E. CameIbackRd. #600, Phoenix, AZ 85016

     By: ^ Mail D Hand Delivery D Constable or Process Server

     6. I state on penalty of perjury that the foregoing is true and correct as of the date the Writ
     was served.


         Answer of Gamishee [Bankruptcy - Member Positive Balance No SDB] - 2


     Case 2:24-ap-00154-DPC                                     Rev. 1/2025
                                      Doc 53 Filed 05/01/25 Entered    05/02/25 09:55:25         Desc
                                      Main Document    Page 2 of 3
            WHEREFORE, Gamishee prays that Gamishee be discharged on this Answer and the
     Court award Gamishee reasonable compensation in the a^^unt ofS100.0j9.h-
                                                    Dated this /^j day of -/tlWf , 2025.

                                                               By:
                                                                             VanessaTOarte, Authorized
                                                                             Agent of Gamishee, Desert
                                                                             Financial Credit Union

     SUBSCRIBED AND SWORN TO before me this                                          ,2025.



     My Commission Expires:                                NOTARY PUBLIC



 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




       Answer ofGamishee [Bankruptcy - Member Positive Balance No SDB] - 3

     Case 2:24-ap-00154-DPC         Doc 53 Filed 05/01/25 Entered    05/02/25 09:55:25
                                                             Rev. 1/2025                              Desc
                                    Main Document    Page 3 of 3
